                                   EXHIBIT D
                             [September 2021 Invoice]




DOCS_DE:238894.1 18502/001
 Case 1-20-10322-CLB, Doc 1680-4, Filed 04/25/22, Entered 04/25/22 18:41:26,
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                               Pachulski Stang Ziehl & Jones LLP
                                         780 Third Avenue
                                            34th Floor
                                        New York, NY 10017
                                                              September 30, 2021
IDS                                                           Invoice 129099
                                                              Client  18502
                                                              Matter  00002
                                                                      IDS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 09/30/2021
               FEES                                             $88,880.00
               EXPENSES                                            $2,475.12
               TOTAL CURRENT CHARGES                            $91,355.12

               BALANCE FORWARD                                 $208,891.64
               TOTAL BALANCE DUE                               $300,246.76




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  Summary of Services by Professional
  ID        Name                        Title              Rate        Hours               Amount

 BMM        Michael, Brittany M.        Counsel           695.00       16.00         $11,120.00

 IAWN       Nasatir, Iain A. W.         Partner           700.00        2.10          $1,470.00

                                                                       84.90         $59,430.00
 IDS        Scharf, Ilan D.             Partner           700.00
                                                                        2.20           $660.00
 LSC        Canty, La Asia S.           Paralegal         300.00
                                                                       20.00          $6,000.00
 NHB        Brown, Nancy H.             Other             300.00
                                                                       34.00         $10,200.00
 SLL        Lee, Sophia L.              Other             300.00
                                                                     159.20           $88,880.00




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  Summary of Services by Task Code
  Task Code         Description                                 Hours                        Amount

 BL                 Bankruptcy Litigation [L430]                 0.90                        $630.00

 CA                 Case Administration [B110]                   1.20                        $836.50

 CO                 Claims Admin/Objections[B310]              115.60                   $59,320.00

 CP                 Compensation Prof. [B160]                    2.50                        $868.50

 GC                 General Creditors Comm. [B150]               4.90                    $3,417.50

 HE                 Hearing                                      5.40                    $3,765.50

 IC                 Insurance Coverage                           5.70                    $3,985.50

 ME                 Mediation                                    4.70                    $3,288.50

 SL                 Stay Litigation [B140]                      18.30                   $12,768.00

                                                                    159.20              $88,880.00




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  Summary of Expenses
  Description                                                                             Amount
Pacer - Court Research                                                             $19.80
Postage [E108]                                                                   $359.52
Reproduction Expense [E101]                                                     $1,541.60
Reproduction/ Scan Copy                                                            $54.20
Research [E106]                                                                  $500.00

                                                                                      $2,475.12




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                                                                                      Hours           Rate         Amount

  Bankruptcy Litigation [L430]
 09/27/2021   IDS      BL       Review Bar Date order regarding potential breach by    0.40       700.00           $280.00
                                defense counsel.
 09/30/2021   IDS      BL       SCC call regarding Diocesan Review Board               0.50       700.00           $350.00
                                requests.

                                                                                       0.90                        $630.00

  Case Administration [B110]
 09/13/2021   IDS      CA       Call with Debtor counsel regarding mediation,          0.50       700.00           $350.00
                                parish stay.
 09/23/2021   BMM      CA       Meeting with Debtor's counsel regarding ongoing        0.40       695.00           $278.00
                                case issues.
 09/23/2021   BMM      CA       Call with I. Scharf regarding case issues.             0.30       695.00           $208.50

                                                                                       1.20                        $836.50

  Claims Admin/Objections[B310]
 09/01/2021   NHB      CO       Review and chart confidential sexual abuse claims.     4.80       300.00       $1,440.00
 09/01/2021   SLL      CO       Review and chart sexual abuse claims.                  5.00       300.00       $1,500.00
 09/02/2021   SLL      CO       Review and chart sex abuse claims.                     5.00       300.00       $1,500.00
 09/03/2021   IDS      CO       Claims review and analysis.                            4.50       700.00       $3,150.00
 09/03/2021   NHB      CO       Review and chart confidential sexual abuse claims.     4.00       300.00       $1,200.00
 09/03/2021   SLL      CO       Review and chart sex abuse claims.                     5.00       300.00       $1,500.00
 09/06/2021   IDS      CO       Claims review and analysis.                            6.70       700.00       $4,690.00
 09/06/2021   IDS      CO       Update spreadsheet regarding claims analysis.          1.80       700.00       $1,260.00
 09/06/2021   NHB      CO       Review and chart confidential sexual abuse claims.     5.00       300.00       $1,500.00
 09/07/2021   NHB      CO       Review and chart confidential sexual abuse claims.     4.00       300.00       $1,200.00
 09/07/2021   SLL      CO       Review and chart sexual abuse claims.                  6.50       300.00       $1,950.00
 09/08/2021   SLL      CO       Review and chart sexual abuse claims.                  3.50       300.00       $1,050.00
 09/09/2021   IDS      CO       Claims review and analysis.                            4.20       700.00       $2,940.00
 09/09/2021   SLL      CO       Review and chart sexual abuse claims.                  6.00       300.00       $1,800.00
 09/10/2021   IDS      CO       Claims review and analysis.                            4.50       700.00       $3,150.00
 09/10/2021   NHB      CO       Review and chart confidential sexual abuse claims.     2.20       300.00           $660.00
 09/10/2021   SLL      CO       Review and chart sex abuse claims.                     3.00       300.00           $900.00
 09/12/2021   IDS      CO       Claims review and analysis.                            4.80       700.00       $3,360.00




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                                                                                         Hours            Rate         Amount
 09/13/2021   IDS      CO       Claims review and analysis.                                2.80       700.00       $1,960.00
 09/14/2021   IDS      CO       Claims review and analysis.                                5.50       700.00       $3,850.00
 09/15/2021   IDS      CO       Claims review and analysis.                                4.80       700.00       $3,360.00
 09/17/2021   IDS      CO       Claims review and analysis.                                4.40       700.00       $3,080.00
 09/19/2021   IDS      CO       Claims review and analysis.                                4.70       700.00       $3,290.00
 09/23/2021   IDS      CO       Claims analysis and review.                                4.20       700.00       $2,940.00
 09/24/2021   IDS      CO       Claims review and analysis.                                3.20       700.00       $2,240.00
 09/27/2021   IDS      CO       Claims review and analysis.                                2.40       700.00       $1,680.00
 09/27/2021   IDS      CO       Claims review and analysis.                                3.10       700.00       $2,170.00

                                                                                         115.60                   $59,320.00

  Compensation Prof. [B160]
 09/16/2021   LSC      CP       Telephone call with Court regarding hearing date on        2.20       300.00           $660.00
                                second interim fee application (.1); revise, finalize,
                                prepare exhibits, and coordinate filing of second
                                interim fee application (1.1); update service
                                list/labels (.3); serve same via email and coordinate
                                first class mailing of the same (.3); draft and file
                                certificate of service of the same (.4).
 09/25/2021   BMM      CP       Review Debtor's professional fees.                         0.30       695.00           $208.50

                                                                                           2.50                        $868.50

  General Creditors Comm. [B150]
 09/02/2021   IDS      GC       Email to Committee regarding status.                       0.30       700.00           $210.00
 09/14/2021   BMM      GC       Call with SCC regarding case issues.                       0.60       695.00           $417.00
 09/15/2021   IDS      GC       Email with SCC regarding SOL defenses                      0.40       700.00           $280.00
                                constitutionality.
 09/17/2021   BMM      GC       Prepare communication to Committee regarding               0.30       695.00           $208.50
                                upcoming meetings and hearings.
 09/23/2021   IAWN GC           (Partial) Telephone conference w/ Committee re             0.50       700.00           $350.00
                                mediator.
 09/23/2021   IDS      GC       Committee meeting regarding pending matters.               1.20       700.00           $840.00
 09/23/2021   BMM      GC       Call with S. Benson regarding diocesan review              0.30       695.00           $208.50
                                board issue.
 09/23/2021   BMM      GC       Participate in Committee meeting (partial) regarding       0.70       695.00           $486.50
                                mediator selection and other case issues.
 09/30/2021   BMM      GC       Participate in call with state court counsel regarding     0.60       695.00           $417.00




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                                                                                        Hours           Rate         Amount
                                ongoing case issues.

                                                                                         4.90                    $3,417.50

  Hearing
 09/24/2021   IDS      HE       Attend hearing regarding stay extension motion.          2.50       700.00       $1,750.00
 09/24/2021   BMM      HE       Participate in hearing.                                  2.90       695.00       $2,015.50

                                                                                         5.40                    $3,765.50

  Insurance Coverage
 09/07/2021   BMM      IC       Review Gleichenhaus parish insurance chart.              0.90       695.00           $625.50
 09/30/2021   IDS      IC       Insurance analysis.                                      4.80       700.00       $3,360.00

                                                                                         5.70                    $3,985.50

  Mediation
 09/09/2021   IDS      ME       Telephone conference with mediator candidate             0.80       700.00           $560.00
                                regarding (D-W) mediation.
 09/14/2021   IAWN ME           Telephone conference w/ SCC re mediation.                0.80       700.00           $560.00
 09/14/2021   IAWN ME           Telephone conference w/ SCC re mediation                 0.80       700.00           $560.00
 09/14/2021   IDS      ME       Attend counsel call regarding mediation.                 0.80       700.00           $560.00
 09/14/2021   IDS      ME       Email memo to committee regarding mediation.             1.20       700.00           $840.00
 09/23/2021   BMM      ME       Communications with S. Donato and I. Scharf              0.30       695.00           $208.50
                                regarding mediator selection.

                                                                                         4.70                    $3,288.50

  Stay Litigation [B140]
 09/13/2021   IDS      SL       Review and analysis of motion to extend parish stay.     1.90       700.00       $1,330.00
 09/16/2021   BMM      SL       Draft statement in support of preliminary injunction.    1.80       695.00       $1,251.00
 09/17/2021   IDS      SL       Telephone conference with R. Lantor regarding            0.80       700.00           $560.00
                                Parish Stay.
 09/17/2021   IDS      SL       Review Lipsitz objection to stay extension.              0.80       700.00           $560.00
 09/17/2021   IDS      SL       Outline issues regarding stay extension.                 0.70       700.00           $490.00
 09/17/2021   BMM      SL       Draft statement in support of preliminary injunction.    1.00       695.00           $695.00
 09/17/2021   BMM      SL       Review Lipsitz objection to preliminary injunction       0.50       695.00           $347.50
                                motion.
 09/18/2021   BMM      SL       Draft statement in support of preliminary injunction.    2.50       695.00       $1,737.50




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                                                                                        Hours           Rate         Amount
 09/18/2021   BMM      SL       Draft statement in support of preliminary injunction.    1.30       695.00           $903.50
 09/19/2021   IDS      SL       Revise statement in support of parish stay extension.    1.30       700.00           $910.00
 09/20/2021   IDS      SL       Further revisions to statement in support of parish      1.00       700.00           $700.00
                                stay extension.
 09/20/2021   BMM      SL       Revise statement in support of preliminary               0.80       695.00           $556.00
                                injunction.
 09/21/2021   BMM      SL       Revise statement in support of preliminary               0.20       695.00           $139.00
                                injunction.
 09/21/2021   BMM      SL       Finalize statement in support of preliminary             0.30       695.00           $208.50
                                injunction for filing.
 09/23/2021   IDS      SL       Prepare for hearing on motion to extend parish stay.     2.00       700.00       $1,400.00
 09/24/2021   IDS      SL       Prepare for hearing regarding stay extension motion.     1.40       700.00           $980.00

                                                                                        18.30                   $12,768.00

  TOTAL SERVICES FOR THIS MATTER:                                                                              $88,880.00




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 Expenses

 09/03/2021   RE2        COPY ( 18 @0.10 PER PG)                         1.80


 09/03/2021   RE2        COPY ( 20 @0.10 PER PG)                         2.00


 09/03/2021   RE2        COPY ( 8 @0.10 PER PG)                          0.80


 09/03/2021   RE2        COPY ( 9 @0.10 PER PG)                          0.90


 09/03/2021   RE2        COPY ( 10 @0.10 PER PG)                         1.00


 09/03/2021   RE2        COPY ( 9 @0.10 PER PG)                          0.90


 09/03/2021   RE2        COPY ( 8 @0.10 PER PG)                          0.80


 09/03/2021   RE2        COPY ( 11 @0.10 PER PG)                         1.10


 09/03/2021   RE2        COPY ( 18 @0.10 PER PG)                         1.80


 09/03/2021   RE2        COPY ( 8 @0.10 PER PG)                          0.80


 09/03/2021   RE2        COPY ( 12 @0.10 PER PG)                         1.20


 09/03/2021   RE2        COPY ( 11 @0.10 PER PG)                         1.10


 09/03/2021   RE2        COPY ( 9 @0.10 PER PG)                          0.90


 09/03/2021   RE2        COPY ( 15 @0.10 PER PG)                         1.50


 09/03/2021   RE2        COPY ( 16 @0.10 PER PG)                         1.60


 09/03/2021   RE2        COPY ( 16 @0.10 PER PG)                         1.60


 09/07/2021   RE2        COPY ( 15 @0.10 PER PG)                         1.50




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 09/07/2021   RE2        COPY ( 17 @0.10 PER PG)                         1.70


 09/07/2021   RE2        COPY ( 15 @0.10 PER PG)                         1.50


 09/07/2021   RE2        COPY ( 5 @0.10 PER PG)                          0.50


 09/07/2021   RE2        COPY ( 9 @0.10 PER PG)                          0.90


 09/07/2021   RE2        COPY ( 8 @0.10 PER PG)                          0.80


 09/07/2021   RE2        COPY ( 9 @0.10 PER PG)                          0.90


 09/07/2021   RE2        COPY ( 9 @0.10 PER PG)                          0.90


 09/07/2021   RE2        COPY ( 9 @0.10 PER PG)                          0.90


 09/07/2021   RE2        COPY ( 8 @0.10 PER PG)                          0.80


 09/07/2021   RE2        COPY ( 9 @0.10 PER PG)                          0.90


 09/07/2021   RE2        COPY ( 8 @0.10 PER PG)                          0.80


 09/07/2021   RE2        COPY ( 32 @0.10 PER PG)                         3.20


 09/07/2021   RE2        COPY ( 9 @0.10 PER PG)                          0.90


 09/13/2021   RE2        COPY ( 9 @0.10 PER PG)                          0.90


 09/13/2021   RE2        COPY ( 21 @0.10 PER PG)                         2.10


 09/16/2021   PO         Postage Charges                               359.52


 09/16/2021   RE         ( 15416 @0.10 PER PG)                        1,541.60


 09/16/2021   RE2        COPY ( 6 @0.10 PER PG)                          0.60




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 09/16/2021   RE2        COPY ( 144 @0.10 PER PG)                         14.40


 09/24/2021   RE2        COPY ( 1 @0.10 PER PG)                            0.10


 09/24/2021   RE2        COPY ( 1 @0.10 PER PG)                            0.10


 09/30/2021   RS         Research [E106] Everlaw, Inc. Inv. 45850        500.00


 09/30/2021   PAC        Pacer - Court Research                           19.80

   Total Expenses for this Matter                                   $2,475.12




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                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        09/30/2021

Total Fees                                                                                            $88,880.00

Total Expenses                                                                                           2,475.12

Total Due on Current Invoice                                                                          $91,355.12

  Outstanding Balance from prior invoices as of        09/30/2021          (May not include recent payments)

A/R Bill Number           Invoice Date              Fees Billed         Expenses Billed             Balance Due
 125270                   04/30/2020               $109,192.50             $625.07                    $10,919.25

 125276                   05/31/2020               $152,307.50             $578.14                    $15,230.75

 125334                   06/30/2020                $41,562.50           $1,006.09                     $4,156.25

 126177                   07/31/2020                $51,502.50           $1,349.12                     $5,150.25

 126524                   08/31/2020                $33,130.00             $247.58                     $7,891.75

 128245                   03/31/2021                $32,659.50             $555.35                     $3,448.23

 128247                   04/30/2021                $18,006.50             $514.72                    $18,521.22

 128249                   05/31/2021                $18,814.50             $500.00                    $19,314.50

 129096                   06/30/2021                $11,449.00             $500.00                    $11,949.00

 129097                   07/31/2021                $36,061.00             $594.20                    $36,655.20

 129098                   08/31/2021                $74,858.50             $796.74                    $75,655.24

             Total Amount Due on Current and Prior Invoices:                                         $300,246.76




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